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                 EXHIBIT D
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      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 ALLY FINANCIAL, INC., a                   )
 Delaware corporation                      )
                    Plaintiff,             )
                                           )
        v.                                 )
                                           )    Case No. N21C-11-222 MMJ
 U.S. SPECIALTY INSURANCE                  )
 COMPANY, a Texas corporation,             )
 ILLINOIS NATIONAL                         )
 INSURANCE COMPANY, an                     )
 Illinois corporation, MARKEL              )
 BERMUDA LTD., a Bermuda                   )
 corporation                               )
                      Defendants.          )

TO THE HONORABLE JUDGE OF THE SUPERIOR COURT:

            NOTICE OF REMOVAL TO THE UNITED STATES
         DISTRICT COURT FOR THE DISTRICT OF DELAWARE

      PLEASE TAKE NOTICE that on January 18, 2022, Defendant U.S.

Specialty Insurance Company (“U.S. Specialty”) filed electronically with the Office

of the Clerk of the United States District Court for the District of Delaware, a Notice

of Removal of this action to the United States District Court for the District of

Delaware pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. A true and correct copy

of the Notice of Removal is attached hereto as Exhibit 1.

      Upon filing of its Notice of Removal and a copy of the Notice with the Clerk

of this Court, Defendant U.S. Specialty has effected this removal in accordance with

28 U.S.C. § 1446(d). This Court is respectfully requested to proceed no further in


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this action, unless and until such time as the action may be remanded by order of the

United States District Court for the District of Delaware.



Dated: January 18, 2022               Respectfully submitted,

                                      /s/ John C. Phillips, Jr.
                                      John C. Phillips, Jr. (#110)
                                      David A. Bilson (#4986)
                                      PHILLIPS MCLAUGHLIN & HALL, P.A.
                                      1200 N. Broom Street
                                      Wilmington, DE 19806
                                      (302) 655-4200
                                      jcp@pmhdelaw.com
                                      dab@pmhdelaw.com

                                      Counsel for Defendant
                                      U.S. Specialty Insurance Company




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